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UNIIBD STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------~----                                      x
CORNELL HOLDEN and MIGUEL MEJIA, on behalf
of themselves and others similarly situated,                       1:17 Civ. 02192

                               Plaintiffs,
                                                                  STIPULATED
                     vs.                                          CONFIDENTIALITY
                                                                  AGREEMENT
THE PORT AUTHORITY OF NEW YORK AND NEW
JERSEY; THE PORT AUTHORITY POLICE
DEPAR1MENT; and WCHAEL OPROMALLA,
SHAUN KEHOE, JOHN TONE, JORDAN ESPOSITO,
MICHAEL DEMARTINO, RICHARD ALYMER and
JOHN DOE OFFICERS 1-100, sued in their individual
·capacities and official capacities as officers of the Port
Authority Police Department, .
                               Defendants_
                           --------------------X

       Plaintiffs, Cornell Holden and Miguel Mejia ("Plain.tiffs''), on behalf of themselves and

any persons similarly situated, "'.ho are determined to be a clas~ and The Port Authority of New

York an,d New Jersey (the Port Authority), Michael Opromalla, Shaun Kehoe, John Tone, Jordan

Esposito, MichaefDeMartino and Richard Aylmer, ("Defendants") (Plaintiffs and Defendants

are hereinafter 'Tarties,.,) hereby stipulate and agree to the following Confidentiality Stipulation

and Proposed Order (the "Stipul~tion") with respect to the above-captioned action (this Action}:

       IT IS HEREBY STIPULATED AND AGREED by and among the Parties, by and

through their respective attorneys, subject to the approval of the Court, that the following

provisions shall govern disclosure and use by the undersigned Parties on all .documents,

testimony, and other information designated "Confidential" or "Attorneys' Eyes Only" that is

produced or given by any person in t.h,e course of discovery in this Action.
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                                          DEFINITIONS

       1.      The term «Information" as used herein shall include any document, deposition

testimony, electronic data, interrogatory response, response to requests for admissions, or other

information disclosed or produced by or on behalf of a Party (or any of its attorneys or other

agents),. or by or on behalf of a non-party (or any ofits attorneys or other agents}, and all

infonnation derived therefrom.

       2.      All information produced in the course of this Action shall be designated as

"Confidential" unless otherwise indicated by the producing Party.      If a Party receiving such
materials object to such designation, it may object pursuant to Paragraph 7 of this document.

        3.     "Confidential" Information, except Vv'ith. the prior consent of the Designating

Person ot upon prior order of this Court~ shall n.ot be disclosed by counsel for any of the Parties

to any person other than the following:

                (a) any court, mediator or arbitrator handling- any aspect of this case, mcluding

                    their personnel, and court reporters (collectively "Court personn~I");

                (b) attorneys directly handling these litigations and their secretaries, legal

                    assistants, or other support personnel as reasonably necessary to assist them in

                    this litigation (collectively, «Litigation Counsel.");

                (c) court reporters and videographers transcribing or recording testimony at

                    depositions;

                (d) the parties,, including in-house counsel,. in-house legal assistants and other in-

                    house legal support.personnel;




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                 (e) outside experts, consultants, and/or litigation supp9rt vendors who are not

                     employees of any party and who are expressly retained to assist counsel of

                    record for the parties and the employees of such persons (collectively,

                     "Outside Litigation Assistants") provided they agree in writing to be bound by

                    this Stipulation;

                 (f) any person who wrote or·received the document designated ~Con:fi.dentiaf';

                 (g) persons noticed for depositions or designated. as trial witnesses; and

                 (h) any other person agreed to by the Parties in writing.

          4.     The following categories of docµm.ents shall be designated "Attorneys' Eyes

Only": l) personnel files of any Port Authority police officer of any rank; 2) disciplinary files of

any Port Authority police officer of any rank; 3) Civilian Complaint (CC) files concerning any

Port Authority police officer of any rank; 4) Police Investigation Unit ("PIU") files concerning

fil~s   concerning any Port Authority police officer of any rank; 5) personnel records of any

employee of the Port Authority; 6) Plaintiffs' arrest and conviction histories other than. the arrests

and/or convictions that are the basis of this lawsuit; 7) Plaintiffs' medical histories, including

meslical records and mental health histories, including mental health records, unless those

records involve a physical or mental condition for which dam.ages are claimed in this lawsuit; 8)

Plaintiffs' histories of substance use and/or substance abuse, except for any substance use that is

connected to any arrest that is the basis of this lawsuit; 10) information concerning Plaintiffs'

sexuality, sexual orientation, and gender identity; and 11) Plaintiffs' history of sexual conduct,

including sexual assault.




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                                 SCOPE AND APPLICATION

       5.      Information designated as "Attorneys' Eyes Only'', except with the prior written

consent of the Designating Person or upon prior order of this Cow:t, shall not be disclosed by any

party to any person other than the following:

               (a) Court personnel;

               (b) Litigation Counsel;

               ( c) Court Reporters;

               (d) Any person who wrote or received the document designated "Attorneys• Eyes

                   Only";

               (e) Any person whose file contains the document designated '"Attorneys' Eyes

                   Only" 'Will .not be shared with any Plaintiff unless he qualifies under

                   Paragraph 5(d). Documents designated"Attorneys' Eyes Only' will not oo

                   shared with Outside Litigation Assistants for any Party, except experts who

                   ·agree to be bound by this agreement

        6.     Any person receiving «Confidential" or ''Attorneys' Eyes Only" Information shall

not disclose such Information to any petson who is not entitled to receive such Information

pursuant to this Stipulation and Order, and shall use such Information solely for the purposes of

the instant litigation.. If any material designated as "Confidential"' or "Attorneys' Eyes Only" is

disclosed, through i.r;tadvertence or otherwise, to an unauthorized person, then the disclosing

 person or entity shall use reasonable efforts to: (a) inform such unauthorized person of all the

 provisions of this Stipulation and Protective Order; (b) request that the unauthorized person sign

 an acknowledgement of this Stipulation and Protective Order, and ( c} attempt to obtain the re~

 of such designated Information. Aily unauthorized person to whom "Confidential" or




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"Attorneys• Eyes Only" Information is disclosed shall be identified promptly to the Designating

Person.

          7.   Any Party may apply to the Court for a ruling that Information designated as

"Confidential" or "Attorneys' Eyes Only" is not entitled to such status and protection. The

Designating Person shall be given notice of the application and an opportunity to respond.

P~nding the Court's ruling, the party contesting the requested designation shall treat the

Information as if th.e required designation were proper and effective.

          8.     Any deposition transcript, videotaped deposition, or deposition exbibit containing

«eon:fidenti~"   or «Attorneys' Eyes Only• Information shall be treated in accordance with

Paragraphs 3 and 5 above.

          9.     It is further stipulated and agreed that the parties will comply with the District's

ECF Privacy Policy (!!tm://tvww.nysd.uscourts.gov/operations/ef!.ovtact042005.pd~) requiring as

more fully stated therein, the redaction of social security numbers, the names of minor children,

dates of birth, :financial account µumbers> and home addresses from documents filed in the

Comt's ECF System. With respect to all other documents designated by the parties as

•'confidential'"' or '"attorneys' eyes only", any party wishing to file said documents, summaries

thereof in written submissions or references to such material in written submissions shall (1) file

 on ECF a redacted copy of the :£9.ing, and (2) separately submit to the Court an unredacted copy

 by email, and also, if longer than. 10 pages, by delivery to the Comt. If the papers being

 submitted are a fully-briefed motion in compliance with the Court's rule on submission of

 motions, the unredacted copies should be submitted to the CoiJrt at that time (not on a rolling

 basis beforehand). Within 5 business days of the ECF filing of the redacted document(s), the

 parties roust confer in good faith as to whether any or all of the redacted material may or must be




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filed without redaction. If the parties reach agreement that all redacted material may or must be

unredacted, the parties shall file on ECF unredacted copies of the previously redacted documents

and so inform the Court. If the parties cannot agree to unredact all redacted materiat then,
                                                                                                 1 .
within 3 business days of the parties' meet and confer, the panrseeking to preserve              ,\....··~
confidentiality must make a specific request to the Court by letter explaining the reasons for

seeking to file the material Under seal. Any party opposin,g the request to file under seal must

submit a responiling letter Vvitb.in 3 business days after sub:rµission of the letter by the party

seeking to preserve confidentiality. Ifthe Court directs that any previously redacted material be

unredacted, the party who submitted the previously redacted document shall within 3 business

days after the Court's unredaction order file on ECF the documents complying Vlith. the Court's

order.

         I 0.   Nothing herein shall impose any restriction on the use or disclosure by a Party of

its own Information.. Nor shall this Stipulation and Protective Order be construed to prevent any

Party, its c.ounsel, or. its Outside Litigation Assistants from making use as they see fit of

Information not covered by the."Confi.dential" or «Attorneys, Eyes Only" designation that was

 lawfully available to the public or lawfully in the possession of the Party, its counsel, or it

 Outside Litigation Assistants independent of any disclosure of Information in th.is litigation.

         11.    Nothing. in this order shall prevent or othermse restrict counsel from renderii:tg

 advice to their client and, in thf< course thereof, relying generally on examination of

 "Confidential" or "Attorneys' Eyes Only"' Information provided, however, that in rendering such

 advice and otherwise communicating ·with such client, counsel shall not.make disclosure of any

 item so designated.




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       12.     Entry of this Stipulation and Protective Order shall be without prejudice to any

motion for relief from ot modification ofthe provisions hereof or to any other motion relating to

the production, exchange, or use of any docWllent or other Information in the course of this

Action, provided, however, that' no such motion shall. be made after entry of a final judgment or

settlement.

       13.     Any inadvertent disclosure of privileged documents, whether protected under the

Attorney-Client Privilege or the Attorney Work Product Doctrine, shall not constitute a waiver of

that privilege or of the subject niatter of those documents. If a party discovers that it ha:s

produced Infonnation that it considers to be protected by the attorney-client privilege, the work

product doctrine, the joint defense privilege, or other applicable privilege, in whole or in part, or

learns of the production of such Information by a non-party, the party may retrieve such

Information as follows:

                (a)    Within ten (10) days of the date of discovery by a Party of the production by

                      it or a non-party, the Parfy asserting that an inadvertent production has

                      occurred shall give written notice to all oilier Parties that the party claims the

                      fuformation,·in whole or in. pa,rt, is privileged or protected material; in

                      addition, the notice shall state the nature of the privilege or protection. the

                      basis for asserting it, and the reason the production is claimed to be

                      inadvertent.

                (b) Upon receipt of such notice, any Party who has received the produced

                      docUtnent or material shall promptly destr-0y or return all copies to the Party

                      asserting the privilege. In the event that only part of a document is claimed to

                      be privileged.or protected, the Party asserting   the privilege shall furnish to the

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                  other parties who have received the document a redacted copy of such

                  document, removing only the part(s) thereof claimed to be privileged or

                  protected, together with such written notice. Any Party who has received the

                  produced documents or material may, after the document in question has been

                  destroyed or returned pursuant to this paragraph, contest the claim of privilege

                  in accordance with the Federal Rules of Civil Procedure, the local Rules or

                  applicable law; provided, however, that should the Parties' good faith efforts

                  fail to resolve any dispute over privilege, the Party contesting the· claim of

                  privilege shall bring the matter to the Court,s attention as provided for under

                  the Federal Rules of Civil Procedure, ~e Local Rules or applicable law after

                  good faith efforts to resolve the dispute have failed.

               (c) The provision of subparts (a) and (b) of this Paragraph are without prejudice

                   to any other rights that a Party may have with respect to challenging or

                   defending any claim of privilege; provided, however, tbat no claim of waiver,

                   estoppel, laches, or the like based on alleged delay or alleged lack of

                   timeliness can be asserted against.the Party based solely on the inclusion of a

                   document in that party's document productio~ if that Party has complied with

                   subpart (a) of this Paragraph.

       14.     All provisions of this Stipulation and Protective Order restricting the use of

Information obtained during discovery shall continue to be binding after the conclusion of this

action, including all appeals, until further order of the Court, unless the Parties agree othe!Wise in

writing. Any and all originals and copies of documents or other information deemed to be

"Confidentiar> or""Attorneys'   Eye~   Only'' shall, at the request of the Designating Person, be




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returned to the Designating Person at the Designation Person's expense, or destroyed, within one

month after a final judgment and appeals herein or settlement of this action except that outside

counsel for each party may maintain in its files copies of each pleading and litigation document

filed wit.lithe Court, and each written discovery request and written response thereto (but no

"Confidential" or "Attorneys' Eyes Only" documents produced in response to a request for ·

production of documents,, which documents shall be returned to the Designating Person or

destroyed in accordance with the procedure identified elsewhere 1n this Paragraph). Upon

request from any Party, a Party who elects to destroy "Confidential" or "Attorneys, Eyes Only"

·documents iQ. its possession will attest in writing to the fact that such documents have been

desiroyed. Nothing in this paragraph shall require any Party to destroy attorney work product or

attorney-client communications.

        15.    Neither this Stipulation and Protective Order nor any Part_y' s designation of

Information as "Confidential" or "Attorneys' Eyes Only" shall affect the admissibility into

evidence of the In:forma1ion so designated.

        16.    An application to maintain the confidentiality ofmate:tfal will be filed with or

presented to the Court and will be made in advance to the Magistrate Judge or District Court

Judge before whom the submission is being made or the matter presented.

        17.     Nothing in this Stipulation and Protective Order is intended to constimte an

 agreement regarding the scope of discovery.




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         1&.            The Court retains jurisdiction subsequent to settlement or entry of judgment in

this matter to enforce the terms of this Stipulation and Protective Order.



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SO ORDERED:




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